         Case 1:22-cv-10761-JGD Document 39 Filed 08/12/22 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS
                                    (BOSTON)

DEBORAH D. FOSS,                             :
                                             :       Civil Action No. 1:22-cv-10761
                                             :
                      Plaintiff,             :
                                             :
               v.                            :
                                             :
CITY OF NEW BEDFORD, and                     :
TALLAGE DAVIS, LLC,                          :
                                             :
                      Defendants.            :



                              STIPULATION FOR DISMISSAL
       Pursuant to LR 68.2, having reached a settlement on all claims, the parties, by their

attorneys, hereby stipulate and agree that the action be dismissed with prejudice and with each

party bearing their own costs and attorney’s fees.

       DATED: August 12, 2022.
 Case 1:22-cv-10761-JGD Document 39 Filed 08/12/22 Page 2 of 3




s/ Christine M. Netski                  s/ Joshua Polk
Christine M. Netski                     JOSHUA POLK
BBO No. 546936                          CA Bar No. 329205
netski@sugarmanrogers.com               CHRISTINA M. MARTIN*
Tristan P. Colangelo                    FL Bar No. 0100760
BBO No. 682202                          Pacific Legal Foundation
colangelo@sugarmanrogers.com            555 Capitol Mall, Suite 1290
SUGARMAN, ROGERS,                       Sacramento, CA 95814
BARSHAK & COHEN, P.C.                   Tel: (916) 419-7111
101 Merrimac Street, Suite 900          Fax: (916) 419-7747
Boston, MA 02114-4737                   JPolk@pacificlegal.org
(617) 227-3030                          CMartin@pacificlegal.org

Counsel for defendant, City of New
Bedford
                                        James D. Masterman, Esq.
s/ Jonathan Silverstein                 BBO # 324000
Jonathan Silverstein,                   James P. Ponsetto, Esq.
BBO No. 630431                          BBO # 556144
Christopher J. Alphen                   Greenberg Traurig, LLP
BBO No. 691813                          One International Place, Suite 2000
Blatman, Boborwski, Haverty &           Boston, MA 02110
Silverstein, LLC                        617-310-6284
9 Damonmill Square, Suite 4A4           mastermanj@gtlaw.com
Concord, MA 01742
Phone: (978) 371-2226
Fax: (978) 371-2296                     *Pro hac vice
jms@bbhslaw.net                         Attorneys for plaintiff

Counsel for defendant, Tallage
Davis, LLC
         Case 1:22-cv-10761-JGD Document 39 Filed 08/12/22 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing was filed and served on all

counsel of record through the Court’s CM/ECF system on August 12, 2022.



                                                            s/ Joshua Polk
                                                            JOSHUA POLK*
